 Case 2:19-cv-00429-ES-SCM Document 3 Filed 02/07/19 Page 1 of 2 PageID: 10



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

M&B IP ANALYSTS, LLC,                                :
                                                     :
                            Plaintiffs,              :
                                                     :
        v.                                           :      C.A. No. 2:19-cv-00429
                                                     :
CORTICA-US, INC., and                                :
CORTICA, LTD.,                                       :
                                                     :
                           Defendants.               :
                                                     :


                       APPLICATION FOR EXTENSION OF TIME TO
                        ANSWER, MOVE, OR OTHERWISE REPLY
                                [Local Civil Rule 6.1(b)]

        Application is hereby made for a Clerk’s Order extending time within which Defendants

Cortica-US, Inc. and Cortica, LTD may answer, move or otherwise reply to the Complaint filed

by Plaintiff herein and it is represented that:

    1. No previous extension has been obtained;
    2. Plaintiff has not yet filed its affidavit of service, but, upon information and belief, service
       of process was effected on Cortica-US, Inc. on or about January 16, 2019 and on Cortica,
       LTD sometime thereafter;
    3. The time to answer, move or otherwise reply has not yet expired.

                                                         /s/ Adam E. Gersh
                                                         Adam E. Gersh, Esquire
                                                         Commerce Center
                                                         1810 Chapel Avenue West
                                                         Cherry Hill, NJ 08002-4609
                                                         Telephone: (856) 382-2246
                                                         Fax: (856) 661-1919
                                                         Adam.Gersh@flastergreenberg.com
                                                         Attorneys for Defendants Cortica-US, Inc.
                                                         and Cortica, LTD
 Case 2:19-cv-00429-ES-SCM Document 3 Filed 02/07/19 Page 2 of 2 PageID: 11




                                        ORDER

   The above application is GRANTED and the time for Defendants Cortica-US, Inc. and

Cortica, LTD. to answer, move or otherwise reply to Plaintiff’s Complaint is extended for

fourteen days.


ORDER DATED: ________________________

                                           WILLIAM T. WALSH, Clerk

                                           By: ____________________________________
                                               Deputy Clerk




                                           2
